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List of Exhibits


A.    The Collective Bargaining Agreement, Article XXVII – Safety, Section 2.
B.    The Collective Bargaining Agreement, Article XIV – Payment of Wages
C.    April 30, 2017 letter from the International Painters and Allied Trades Industry Pension Fund
D.    December 29, 2017 letter from Fine/FCS group to the International Union of Painters and Allied
      Trade Unions Pension Fund
E.    July 12, 2018 letter from International Painters and Allied Trades Union Pension Fund to Mr.
      Santos stating his application for pension benefits has been reviewed and approved.
F.    October 18, 2018 letter from the International Painters and Allied Trades Union Pension to Mr.
      Santos stating that his union pension was suspended effective October 1, 2018 as a result of an
      audit of his reported work hours.
G.    November 5, 2018, letter from the Union Pension Fund to Fine/FCS group.
H.    December 10, 2018 letter of appeal of Mr. Santos’ union pension from Dominick Minervini, esq.
      to the Union Pension Fund.
I.    December 13, 2018 letter from Fine/FCS group to the Union Pension Fund.
J.    January 15, 2019 letter from the Union Pension Fund to Find/FCS group.
K.    April 12, 2019 letter from the Union Pension Fund to Mr. Santos informing him of the denial of
      his appeal
L.    Novak|Francella letter
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